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   9                                UNITED STATES DISTRICT COURT
  10                              CENTRAL DISTRICT OF CALIFORNIA
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  12 JEFFREY E. BRANDLIN, Receiver for                     Case No. 2:21-cv-04790-SVW-KES
     NTV Financial Group, Inc.,
  13
               Plaintiff,                                  JUDGMENT
  14
          v.                                               Date: November 22, 2021
  15                                                       Time: 1:30 p.m.
     MICHELLE NGUYEN, an individual,                       Place: Courtroom 10A
  16                                                              350 W. 1st Street
               Defendant.                                         Los Angeles, California 90012
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  20             The Motion of Plaintiff Jeffrey E. Brandlin, Receiver for NTV Financial
  21 Group, Inc., for Summary Judgment as to Defendant Michelle Nguyen, came on for
  22 hearing, having been duly noticed, on November 22, 2021 at 1:30 p.m. before the
  23 Honorable Stephen V. Wilson, United States District Court Judge. The Court
  24 having found that the entry of Summary Judgment is appropriate,
  25             IT IS HEREBY ORDERED AND ADJUDGED:
  26             1.         Judgment in this case is granted in favor of Plaintiff Jeffrey E.
  27 Brandlin, Receiver for NTV Financial Group, Inc., and against Defendant Michelle
  28 Nguyen, as follows:
       17118.1:10394955.1
                                                     JUDGMENT
Case 2:21-cv-04790-SVW-KES Document 35 Filed 11/24/21 Page 2 of 2 Page ID #:598




   1                        (a)   Defendant Michelle Nguyen shall pay Plaintiff Jeffrey E.
   2 Brandlin, Receiver for NTV Financial Group, Inc., $57,345.00, plus prejudgment
   3 interest in the amount of $13,380.95.
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       DATED: November 24, 2021
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                                                     Honorable Stephen V. Wilson
   7                                                 United States District Court Judge
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       17118.1:10394955.1
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                                                   JUDGMENT
